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     In The United States Court of Federal Claims
                                             No. 07-194C

                                   (Filed: November 8, 2013)
                                           __________

  JOHN ANDERSON FARMS, INC.,
  et al.,

                               Plaintiffs,

                          v.

  THE UNITED STATES,

                                 Defendant.

                                              __________

                                               ORDER
                                              __________

        On November 7, 2013, the parties filed a joint motion for reconsideration of the court’s
October 29, 2013, order granting, in part, defendant’s unopposed motion for enlargement of the
period for fact discovery. The motion is hereby GRANTED. Accordingly,

       1.       On or before March 14, 2014, the parties shall conclude fact discovery;
                and

       2.       On or before March 28, 2014, the parties shall file a joint status report
                proposing a schedule for further proceedings.

       IT IS SO ORDERED.



                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
